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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 JAMES MADDEN, INDIVIDUALLY AND AS                  §
 THE FATHER AND REPRESENTATIVE OF                   §
 THE ESTATE OF RASHAD MADDEN                        §
 AND SHABREEKA KENNEDY AS NEXT                      §
 FRIEND OF MINOR CHILD, M.M.,                       §
                                                    §
         Plaintiffs,                                §
                                                    §      Civil Action No. 3:21-CV-01168-S
 v.                                                 §
                                                    §
 JASON GIBBON, DUDLEY NOSWORTHY,                    §
 OTHER JOHN DOE DALLAS POLICE                       §
 OFFICERS, AND THE CITY OF DALLAS,                  §
 TEXAS,                                             §
                                                    §
         Defendants.                                §


______________________________________________________________________________

         DEFENDANTS JASON GRIBBON AND DUDLEY NOSWORTHY’S
    MOTION FOR SUMMARY JUDGMENT BASED ON QUALIFIED IMMUNITY
______________________________________________________________________________

TO THE HONORABLE COURT:

         Defendants Officer Jason Gribbon and Sergeant Dudley Nosworthy (collectively, “the

Officers”), pursuant to Rule 56 of Civil Procedure and Local Civil Rule LR 56.3, file this motion

for summary judgment based upon qualified immunity as to all claims alleged against them by

Plaintiffs. Officers separately file their supporting brief (ECF No. 39) and appendix (ECF No. 39-

1) in accordance with Local Civil Rules LR 56.5 and LR 56.6.

                       I.     SUMMARY OF CLAIMS AND DEFENSES

         Plaintiffs asserts one claim against the Officers: a 42 U.S.C. § 1983 claim alleging

excessive force against decedent Rashad Madden.



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           In this motion, the Officers seek summary judgment on all claims against them. The

Officers assert the affirmative defense of qualified immunity in response to the 42 U.S.C. § 1983

claims against them. Per Local Civil Rule LR 56.3 (“Content of Motion”), the elements of each

claim or defense as to which the Officers seek summary judgment are set forth in their supporting

brief (ECF No. 39).

                             IV.       RELEVANT PROCEDURAL HISTORY

           This case arises from the August 2019 death of Rashad Madden, who died due to the toxic

effects of cocaine and other drugs following his arrest. Plaintiffs originally filed this lawsuit on

May 21, 2021 (ECF No. 1).1 On October 20, 2021, the Court stayed all discovery in the lawsuit

except for discovery limited to the Officers’ qualified immunity defenses. (ECF. No. 25) The

active pleading is Plaintiffs’ Second Amended Complaint. (ECF No. 19.)                              The Court set a

February 18, 2022 deadline (ECF No. 25) for dispositive motions on the defense of qualified

immunity, and extended that deadline on the Defendants’ motions to March 18, 2022 (ECF Nos.

36, 37). This case is currently set for trial on this Court’s three-week docket beginning April 24,

2023. (ECF No. 25.)

                                V.       SUMMARY OF UNDISPUTED FACTS

           Pursuant to Local Rule LR 56.3(b), the Officers’ summary of undisputed facts is included

in their supporting brief (ECF No. 39).

                                        VI.      PRAYER FOR RELIEF

           WHEREFORE, Defendants Jason Gribbon and Dudley Nosworthy respectfully request

that the Court grant their motion for summary judgment based on qualified immunity; dismiss with




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    Plaintiffs’ claims against the City are currently pending a Motion to Dismiss. (Doc. No. 31.)

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prejudice all of Plaintiffs’ claims against them; enter judgment in their favor on all claims; and

grant them all other relief that is consistent with this motion.


                                               Respectfully submitted,

                                               CITY ATTORNEY OF THE CITY OF DALLAS

                                               Christopher J. Caso
                                               City Attorney

                                               s/ J. Cheves Ligon_________
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                                               Attorneys for Defendants City of Dallas, Jason
                                               Gribbon, and Dudley Nosworthy




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                                     CERTIFICATE OF SERVICE

       I hereby certify that on March 18, 2022, I electronically filed the foregoing document with

the clerk of court for the U.S. District Court, Northern District of Texas, using the CM/ECF system

which will send notification to case participants registered for electronic notice. I further certify

that to the extent applicable I have served all case participants not registered for electronic notice

by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      s/ J. Cheves Ligon
                                                      Senior Assistant City Attorney




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